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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

  DEUTSCHE BANK NATIONAL TRUST                    §
  COMPANY AS TRUSTEE FOR HSI                      §
  ASSET SECURITIZATION                            §
  CORPORATION TRUST 2006 OPT4,                    §
  MORTGAGE-PASS THROUGH                           §
  CERTIFICATES, SERIES 2006-OPT4,                 §
                                                  §
          Plaintiff,                              §          Civil Action No. 4:20-cv-2577
                                                  §
  v.                                              §
                                                  §
                                                  §
                                                  §
   MARK STUBBLEFIELD                              §
                                                  §
             Defendant.                           §
                                                  §

             PLAINTIFF’S SECOND MOTION TO CONTINUE PRETRIAL DATES

        Plaintiff Deutsche Bank National Trust Company, as Trustee for HSI Asset Securitization

Corporation Trust 2006 OPT4, Mortgage-Pass Through Certificates, Series 2006-OPT4

(“Deutsche Bank” or “Plaintiff”) file this its Second Motion to Continue Pretrial Dates (the

“Motion”), and respectfully show as follows:

        1.       Plaintiff filed its Original Complaint on July 22, 2020 (the “Complaint”) seeking a

declaratory judgment allowing Plaintiff’s to enforce the security instrument through non-judicial

foreclosure of the subject property. (ECF Docket No. 1.)

        2.       On January 20, 2021, the Court entered a docket order establishing a deadline of

October 29, 2021, for the Plaintiff to submit a joint pretrial order and setting a pretrial conference

for November 5, 2021. (ECF Docket No. 22.)




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       3.      On July 16, 2021, Plaintiff filed its Motion for Summary Judgment against

Defendant Mark Stubblefield (“Defendant”). (ECF Docket No. 31.) This Court ordered that

Defendant’s response would be due within twenty-one (21) days after the filing of Plaintiff’s

Motion for Summary Judgment. (ECF Docket No. 30.) Defendant’s response was due by August

6, 2021. To date, no response has been filed by the Defendant. Accordingly, the Court may take

the Plaintiff’s non-response as representation of no opposition. (See LR 7.4.)

       4.      On October 19, 2021, Plaintiff filed a Motion to Continue Pre-Trial Deadlines.

(ECF Docket No. 33.) The same day, the Court entered an order extending the deadline to file the

pre-trial report to January 7, 2022 and scheduling the pretrial conference for January 14, 2022.

(ECF Docket No. 34.)

       5.      In light of the no opposition to the Plaintiff’s Motion for Summary Judgment,

Plaintiff respectively request that the deadline to file a pretrial order and settings be continued so

that the Court can rule on the pending motion which if granted, would dispose the entire case

without the need of a trial.

       6.      This motion is filed not for purpose of delay, but so that justice may be done and to

avoid wasting the time and resources of the Court. No parties will be prejudiced by this request.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff hereby prays that this Court

extend the deadline for a joint pretrial order and the setting for the pretrial conference and for

such other relief to which it may be justly entitled.




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                                                      Respectfully submitted,

                                                 By: /s/ Vivian N. Lopez
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                                                    mcronenwett@mwzmlaw.com

                                                      VIVIAN N. LOPEZ
                                                      State Bar No. 20818-PR
                                                      Southern District No. 3504182
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                                                 (214) 635-2650
                                                 (214) 635-2686 (Fax)
                                                 ATTORNEYS FOR PLAINTIFF


                             CERTIFICATE OF CONFERENCE

      I hereby certify that on January 3, 2022, I attempted to confer via phone call with pro se
Defendant Mark Stubblefield, but he did not respond.

                                                    /s/ Vivian N. Lopez
                                                    VIVIAN N. LOPEZ


                                CERTIFICATE OF SERVICE

       The undersigned certifies that on January 3, 2022, a true and correct copy of the foregoing
was served on the following individuals in the manner described below.

Via U.S. Mail
Mark Stubblefield
9 Yewleaf Ct.
Spring, TX 77381

                                                 /s/ Vivian N. Lopez
                                                 VIVIAN N. LOPEZ




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